Case 3:17-cv-00072-NKM-JCH Document 159 Filed 12/18/17 Page 1 of 5 Pageid#: 700




                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                          Charlottesville Division

 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, TYLER MAGILL, APRIL
 MUNIZ, HANNAH PEARCE, MARCUS
 MARTIN, JOHN DOE, JANE DOE 1, JANE
 DOE 2, and JANE DOE 3,

                         Plaintiffs,
 v.

 JASON KESSLER, RICHARD SPENCER,
 CHRISTOPHER CANTWELL, JAMES
 ALEX FIELDS, JR., VANGUARD
 AMERICA, ANDREW ANGLIN,                      Civil Action No. 3:17-cv-00072-NKM
 MOONBASE HOLDINGS, LLC, ROBERT
 “AZZMADOR” RAY, NATHAN DAMIGO,
 ELLIOT KLINE a/k/a/ ELI MOSELY,
 IDENTITY EVROPA, MATTHEW
 HEIMBACH, MATTHEW PARROTT a/k/a
 DAVID MATTHEW PARROTT,
 TRADITIONALIST WORKER PARTY,
 MICHAEL HILL, MICHAEL TUBBS,
 LEAGUE OF THE SOUTH, JEFF SCHOEP,
 NATIONAL SOCIALIST MOVEMENT,
 NATIONALIST FRONT, AUGUSTUS SOL
 INVICTUS, FRATERNAL ORDER OF THE
 ALT-KNIGHTS, MICHAEL “ENOCH”
 PEINOVICH, LOYAL WHITE KNIGHTS OF
 THE KU KLUX KLAN, and EAST COAST
 KNIGHTS OF THE KU KLUX KLAN a/k/a
 EAST COAST KNIGHTS OF THE TRUE
 INVISIBLE EMPIRE,

                         Defendants.




                                       STIPULATION
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         Pursuant to the Local Rules of this Court, Plaintiffs Sines et al., by counsel, respectfully

 advise the Court that all parties who have properly appeared in this action1 agree to submission of

 Plaintiffs’ Motion to Preclude Defendant Peinovich from Recording Parties’ Discovery

 Negotiations, filed on November 29, 2017, without a hearing.



 Dated: December 18, 2017                        Respectfully submitted,

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 1
        Pursuant to Plaintiffs’ Motion to Strike Defendant Loyal White Knights of the Ku Klux
 Klan’s Answer, ECF No. 155, Plaintiffs do not consider the Loyal White Knights of the KKK to
 have properly appeared in this action.

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                                    Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 18, 2017, I filed the foregoing with the Clerk of Court

 through the CM/ECF system, which will send a notice of electronic filing to:

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 Counsel for Defendants Jeff Schoep, Nationalist Front, National Socialist Movement, Matthew
 Parrott, Matthew Heimbach, Robert Ray, Traditionalist Worker Party, Elliot Kline, Jason
 Kessler, Vanguard America, Nathan Damigo, Identity Europa, Inc., and Christopher Cantwell




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        I further hereby certify that on December 18, 2017, I also served the following non-ECF

 participant, via e-mail:

 Michael Peinovich (pro se)
 a/k/a Michael “Enoch” Peinovich
 519 E. 82nd Street, Apt 2C
 New York, NY 10028
 mpeinovich@gmail.com



        I further hereby certify that on December 18, 2017, I also served the following non-ECF

 participant, via U.S. mail, First Class and postage prepaid, addressed as follows:

 Loyal White Knights of the Ku Klux Klan
 a/k/a Loyal White Knights Church of Invisible Empire Inc.
 Loyal White Knights of the Ku Klux Klan (pro se)
 a/k/a Loyal White Knights Church of Invisible Empire Inc.
 c/o Chris and Amanda Barker
 P.O. Box 54
 Pelham, N.C. 27311

 Richard Spencer
 1001-A King Street
 Alexandria, VA 22314



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                                                      Counsel for Plaintiffs




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